           Case 3:22-cv-00580-RNC Document 1 Filed 04/22/22 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

STEPHEN DENINNO & MARY DENINNO                        )
               Plaintiffs                             )
                                                      )               CIVIL ACTION NO.:
v.                                                    )               3:22-cv-580
                                                      )
NORTH COAST SEA-FOODS CORP. d/b/a                     )
NORTH COAST SEAFOODS and BIG Y                        )               APRIL 22, 2022
FOODS, INC.                                           )
               Defendants                             )
                                                      )

                                    NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendants North Coast Sea-Foods Corp.

d/b/a North Coast Seafoods and Big Y Foods, Inc. (“Defendants”) hereby give notice of the

removal of this action, which is currently pending in the Judicial District of Windham at Putnam,

captioned Stephen Deninno & Mary Deninno v. North Coast Sea-Foods Corp. d/b/a North Coast

Seafoods & Big Y Foods,, Inc., Civil Docket No. WWM-CV21-6022616-S, to the United States

District Court for the District of Connecticut. As grounds for removal, Defendant states as

follows:

       1. Defendant removes this case on the basis of diversity jurisdiction, on the grounds that

           there is complete diversity of citizenship among the parties to this litigation and the

           amount in controversy exceeds $75,000 exclusive of interest and costs. See 28 U.S.C.

           § 1332(a)(1) (“The district courts shall have original jurisdiction of all civil actions

           where the matter in controversy exceeds the sum or value of $75,000, exclusive of

           interest and costs, and is between citizens of different States.”).
  Case 3:22-cv-00580-RNC Document 1 Filed 04/22/22 Page 2 of 6




                               BACKGROUND

2. Plaintiffs Stephen Deninno & Mary Deninno (“Plaintiffs”) filed their Complaint

   against Defendants (“Complaint”) in the Judicial District of Windham with a return

   date of September 7, 2021. A copy of the Summons and Complaint in the State court

   action is attached hereto as Exhibit A.

3. In their Complaint, Plaintiffs allege that on July 27, 2018, they purchased a package

   of XL King Crab Legs food product at the Big Y World Class Market located at 70

   Wauregan Road, Danielson, Connecticut, and ate the same. See Exhibit A,

   Complaint, ¶¶ 5 and 7. Plaintiffs further allege that the subject food product was

   contaminated with salmonella or a bacteria, which caused them to experience food

   poisoning symptoms on July 28, 2018. Id. at ¶¶ 9 and 10. Plaintiffs claim to have

   sustained food poisoning and sequelae from the subject food product. Id. at First

   Count ¶ 24, Third Count ¶ 24, Fifth Count ¶ 25, and Seventh Count ¶ 25. Plaintiff

   asserts claims of breach of warranty against Defendants. See generally id.

                             TIMELINESS OF REMOVAL

4. Defendants were served with Plaintiffs’ Complaint on or about July 27 and 28, 2021.

   See Exhibit B.

5. On or about March 24, 2022, Defendants received a copy of Plaintiffs’ responses to

   Defendants’ discovery requests, which included Mr. Deninno’s total medical

   expenses in the amount of One Hundred Seventy-Four Thousand Seven Hundred and

   Nineteen Dollars and Ten Cents ($174,719.10) and his claimed lost wages in a total

   amount of Five Thousand One Hundred Sixty-Four Dollars and Thirty-Two Cents




                                        2
  Case 3:22-cv-00580-RNC Document 1 Filed 04/22/22 Page 3 of 6




   ($5,164.32). See Exhibit C: Affidavit of Courtney Lacouture. This was the first time

   the Defendant learned that the amount in controversy was greater than $75,000. Id.

6. This Notice of Removal is timely because it is filed within 30 days from first

   receiving information regarding Plaintiffs’ claimed damages for Mr. Deninno’s

   medical expenses and lost wages. See 28 U.S.C. §§ 1441(e), 1446(b)(3).

                         DIVERSITY OF CITIZENSHIP

7. Complete diversity of citizenship exists in this matter because Defendants are citizens

   of a different State from Plaintiffs. See 28 U.S.C. § 1332(a).

8. Plaintiffs are citizens of Connecticut. See Exhibit A and Exhibit C.

9. At the time of the filing of the Complaint, Defendant North Coast Sea-Foods Corp.

   d/b/a North Coast Seafoods was, and currently is, a corporation formed under the

   laws of the State of Massachusetts with its principal place of business located at 5

   Drydock Avenue, Boston, Massachusetts 02110. As of the filing date of the

   Complaint, Defendant North Coast Sea-Foods Corp. d/b/a North Coast Seafoods’

   executive officers have directed, controlled, and coordinated the corporation’s

   activities from its corporate headquarters in the State of Massachusetts. For the

   purposes of removal, Defendant North Coast Sea-Foods Corp. d/b/a North Coast

   Seafoods is not a citizen of Connecticut.

10. At the time of the filing of the Complaint, Defendant Big Y Foods, Inc., was, and

   currently is, a corporation formed under the laws of the State of Massachusetts with

   its principal place of business located at 2145 Roosevelt Avenue, Springfield,

   Massachusetts 01104. As of the filing date of the Complaint, Defendant Big Y Foods,

   Inc.’s executive officers have directed, controlled, and coordinated the corporation’s



                                        3
  Case 3:22-cv-00580-RNC Document 1 Filed 04/22/22 Page 4 of 6




   activities from its corporate headquarters in the State of Massachusetts. For the

   purposes of removal, Defendant Big Y Foods, Inc., is not a citizen of Connecticut.

11. There is complete diversity between Plaintiffs and Defendants in this action. See 28

   U.S.C. § 1332(a)(1).

                        AMOUNT IN CONTROVERSY

12. Based on Plaintiffs’ allegations, the amount in controversy in this case exceeds the

   jurisdictional minimum of $75,000 required for diversity jurisdiction pursuant to 28

   U.S.C. § 1332.

13. In their Complaint, Plaintiffs allege that, as a result of the subject food product

   consumed on July 27, 2018, Mr. Deninno sustained various injuries, including nausea

   and vomiting; diarrhea; dehydration; contamination of his blood stream; acute renal

   failure and injury to his kidneys; gastrointestinal injury including, but not limited to,

   gastroenteritis, post-infectious irritable bowel syndrome, and damage to his intestinal

   tract; B-12 deficiency; hypomagnesemia; hypokalemia; and reactive arthritis and/or

   aggravation of pre-existing gout, all of which resulted in severe swelling, joint pain,

   and issues with mobility. See Exhibit A, Complaint at First Count ¶ 24 and Fifth

   Count ¶ 25.

14. In their Complaint, Plaintiffs allege that, as a result of the subject food product

   consumed on July 27, 2018, Ms. Deninno sustained various injuries, including nausea

   and vomiting; diarrhea; dehydration; and contamination of her bloodstream. Id. at

   Third Count ¶ 24 and Seventh Count ¶ 25.

15. Plaintiffs allege in their Statement of Amount in Demand that monetary damages are

   in excess of $15,000. Id. at p. 17.



                                         4
  Case 3:22-cv-00580-RNC Document 1 Filed 04/22/22 Page 5 of 6




16. On or about March 24, 2022, Defendant received a copy of Plaintiffs’ responses to

   Defendants’ discovery requests, which included Mr. Deninno’s total medical

   expenses in the amount of One Hundred Seventy-Four Thousand Seven Hundred and

   Nineteen Dollars and Ten Cents ($174,719.10) and his claimed lost wages in a total

   amount of Five Thousand One Hundred Sixty-Four Dollars and Thirty-Two Cents

   ($5,164.32). See Exhibit C.

ALL PROCEDURAL PREREQUISITES TO REMOVAL HAVE BEEN MET

17. Pursuant to 28 U.S.C. §§ 1441(a) and 1446(a), Defendants are filing this Notice of

   Removal in the federal district court for the district within which the State court

   Complaint was filed.

18. Pursuant to 28 U.S.C. § 1446(a), Defendants attach all process, pleadings, and orders

   that have been filed, served, or received by Defendants in this action as Exhibit A.

19. Pursuant to 28 U.S.C. § 1391, venue is proper in the United States District Court for

   the District of Connecticut, as the Complaint in this action was filed in the Judicial

   District of Windham.

20. Defendants have given written notice of the filing of this Notice of Removal to

   Plaintiffs and will file a copy of this Notice of Removal with the Clerk of the Judicial

   District of Windham, as required by 28 U.S.C. § 1446(d).

21. In removing this action, Defendants do not intend to waive any rights or defenses to

   which they are otherwise entitled under the Federal Rules of Civil Procedure.

22. Based upon the record submitted with this notice, this Court has jurisdiction over

   Plaintiffs’ claims and the Complaint is properly removed to this Court.




                                        5
          Case 3:22-cv-00580-RNC Document 1 Filed 04/22/22 Page 6 of 6




       WHEREFORE, Defendants North Coast Sea-Foods Corp. d/b/a North Coast Seafoods

and Big Y Foods, Inc, respectfully request that this action proceed in the United States District

Court for the District of Connecticut, as an action properly removed from state court.


                                              Respectfully submitted,
                                              Defendants,
                                              NORTH COAST SEA-FOODS CORP. d/b/a
                                              NORTH COAST SEAFOODS and BIG Y FOODS,
                                              INC.
                                              By their attorneys,

                                              /s/ Courtney Lacouture
                                              __________________ ________
                                              Kevin J. O’Leary, ct30271
                                              Courtney Lacouture, ct31062
                                              Coughlin Betke LLP
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                                              Boston, MA 02110
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                                CERTIFICATE OF SERVICE


        I, Courtney Lacouture, certify that a copy of this document was or will immediately be
mailed or delivered electronically on April 22, 2022 to all attorneys and self-represented parties
of record:


Plaintiffs Stephen Deninno & Mary Deninno
Shelley L. Graves, Esq.
Faulkner & Graves
1 Montauk Ave, Suite 301
New London, CT 06320


                                                     _/s/ Courtney Lacouture_________
                                                     Courtney Lacouture, Esq. (ct31062)




                                                 6
